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                                   7                                 UNITED STATES DISTRICT COURT
                                   8                            NORTHERN DISTRICT OF CALIFORNIA
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                                  10     FS MEDICAL SUPPLIES, LLC,
                                                                                      Case No. 21-cv-03017-NC
                                  11                    Plaintiff,
                                  12               v.                                 JUDGMENT
Northern District of California
 United States District Court




                                  13     TANNERGAP, INC., and others,
                                  14                    Defendants.
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                                  16           On July 12, 2021, the Court granted Defendants’ Motion to Dismiss. ECF 18.
                                  17   Accordingly, Plaintiff’s complaint is dismissed without prejudice. The Clerk shall close
                                  18   the file.
                                  19           IT IS SO ORDERED.
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                                  21   Dated: July 12, 2021                     _____________________________________
                                                                                      NATHANAEL M. COUSINS
                                  22                                                  United States Magistrate Judge
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